           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                   Desc Main
                                                                     Document      Page 1 of 38




 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 29, 2017                       X /s/ Steven Lebischak
                                                                       Signature of individual signing on behalf of debtor

                                                                       Steven Lebischak
                                                                       Printed name

                                                                       Chief Executive
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 17-14249-BFK                                     Doc 14              Filed 12/29/17 Entered 12/29/17 12:56:48                                                          Desc Main
                                                                                    Document      Page 2 of 38
 Fill in this information to identify the case:

 Debtor name            Aero-X Golf, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)               17-14249
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           844,268.44

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           844,268.44


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            10,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,024,301.74


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,034,301.74




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                         Desc Main
                                                                     Document      Page 3 of 38
 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     EagleBank                                               checking                        2389                                    $11,308.48




           3.2.     First Bank (closed as of 12/19/2017)                    checking                        1796                                     $5,127.01



 4.        Other cash equivalents (Identify all)
                    $13,000 in certified bank checks
                    $6,000 held for debtor in non-debtor bank account
                    Note: The above funds were deposited post-petition into Debtor's debtor-in-possession
           4.1.     bank account.                                                                                                                   $19,000.00




 5.        Total of Part 1.                                                                                                                     $35,435.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14            Filed 12/29/17 Entered 12/29/17 12:56:48                         Desc Main
                                                                      Document      Page 4 of 38
 Debtor         Aero-X Golf, Inc.                                                                     Case number (If known) 17-14249
                Name



        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 10,173.05   -                                    0.00 = ....                 $10,173.05
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                     5,257.00   -                                  0.00 =....                      $5,257.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $15,430.05
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory held in North
           Carolina Storage. See
           attachment "North
           Carolina Storage
           Inventory"
           Note Re: Physical
           Inventory Dates:
           Approx. 10/15/17 for
           goods in NC, 1/30/17 for
           DW Sports (located in
           AZ)                                        10/15/17, 1/30/17                       $49,686.40       Cost                               $49,686.40


           Inventory held at Iron
           Mountain. See
           attachment "Inventory
           held at Iron Mountain"                     Approx. 9/16/17                         $79,128.19       Cost                               $79,128.19




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                     Desc Main
                                                                     Document      Page 5 of 38
 Debtor         Aero-X Golf, Inc.                                                                Case number (If known) 17-14249
                Name

            Inventory held by
            Whitebox. See
            attachment "Inventory
            held by Whitebox."                                                             $7,376.25    Cost                                   $7,376.25



 22.        Other inventory or supplies

 23.        Total of Part 5.                                                                                                            $136,190.84
            Add lines 19 through 22. Copy the total to line 84.

 24.        Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                  Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                 Desc Main
                                                                     Document      Page 6 of 38
 Debtor         Aero-X Golf, Inc.                                                            Case number (If known) 17-14249
                Name

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents and Patent Applications. See
            attachment "Patents and Patent Applications"

            Note: The value listed herein for all of the
            intellectual property is based upon the fees
            and costs incurred for all conforming and
            non-conforming intellectual property,
            including attorneys fees and maintenance
            fees.                                                                           $0.00    See Note                        $647,212.06



 61.        Internet domain names and websites
            www.polaragolf.com
            [The brand name Polara Golf is used by
            Aero-X but is owned by another company:
            Golfer First Technology (GFT). GFT licenses
            Polara to Aero-X.]                                                         Unknown                                          Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Email registry consisting of approximately
            20,000 names/email addresses                                                    $0.00    Estimated Cost                   $10,000.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                      $657,212.06
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
            Case 17-14249-BFK                            Doc 14            Filed 12/29/17 Entered 12/29/17 12:56:48                                        Desc Main
                                                                          Document      Page 7 of 38
 Debtor          Aero-X Golf, Inc.                                                                                   Case number (If known) 17-14249
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $35,435.49

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $15,430.05

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $136,190.84

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $657,212.06

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $844,268.44           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $844,268.44




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
  Case 17-14249-BFK                    Doc 14         Filed 12/29/17 Entered 12/29/17 12:56:48                                    Desc Main
                                                     Document      Page 8 of 38
                                          Attachment to Schedule B | Part 5: Question No. 21
                                          North Carolina Storage Inventory | New Drivers
  Inventory Code                  Inventory Description         Availability       Total Shipments       Total Returns       In Stock        Cost
                                                                                                                                             $85
D105AMRH45         45' 10.5 A MRH                                              9                     1                                  8
D105AMRH46         46' 10.5 A MRH                                          45                                                           45
D105AMRH47         47' 10.5 A MRH                                              5                                                        5
D105RMRH45         45' 10.5 R MRH                                          10                        2                   1              9
D105RMRH46         46' 10.5 R MRH                                          23                                                           23
D105RMRH47         47' 10.5 R MRH                                              5                     1                                  4
D105SMRH45         45' 10.5 S MRH                                              2                     1                                  1
D105SMRH46         46' 10.5 S MRH                                              2                                                        2
D105SMRH47         47' 10.5 S MRH                                              1                                                        1
D12AMRH45          45' 12 A MRH                                                8                     1                                  7
D12AMRH46          46' 12 A MRH                                            30                                                           30
D12AMRH47          47' 12 A MRH                                                5                                                        5
D12RMRH45          45' 12 R MRH                                                2                     2                                  0
D12RMRH46          46' 12 R MRH                                            23                                                           23
D12RMRH47          47' 12 R MRH                                                5                                                        5
D12SMRH45          45' 12 S MRH                                                1                                                        1
D12SMRH46          46' 12 S MRH                                                0                                                        0
D12SMRH47          47' 12 S MRH                                                2                                                        2
DHL1AMRH45         45' HL1 A MRH                                               4                                                        4
DHL1AMRH46         46' HL1 A MRH                                               8                                                        8
DHL1AMRH47         47' HL1 A MRH                                               0                                                        0
DHL1RMRH45         45' HL1 R MRH                                               9                                                        9
DHL1RMRH46         46' HL1 R MRH                                           32                                                           32
DHL1RMRH47         47' HL1 R MRH                                               8                                                        8
DHL1SMRH46         46' HL1 S MRH                                               0                                                        0
DHL1SMRH47         47' HL1 S MRH                                               0                                                        0
DHL3AMRH45         45' HL3 A MRH                                           16                                                           16
DHL3AMRH46         46' HL3 A MRH                                               9                                                        9
DHL3AMRH47         47' HL3 A MRH                                           12                                                           12
DHL3RMRH45         45' HL3 R MRH                                               7                                                        7
DHL3RMRH46         46' HL3 R MRH                                               6                                                        6
DHL3RMRH47         47' HL3 R MRH                                               6                                                        6


    Womens
D105WRH435         43.5' 10.5 WRH                                              3                                                        3
D105WRH445         44.5' 10.5 WRH                                              3                                                        3
D12WRH435          43.5' 12 L                                                  2                                                        2
D12WRH445          44.5' 12 WRH WOMEN                                          5                                                        5
DHL1WRH435         43.5' HL1 WRH WOMEN                                         5                                                        5
DHL1WRH445         44.5' HL1 WRH WOMEN                                     14                                                           14
DHL3WRH435         43.5' HL3 WRH WOMEN                                         2                                                        2
DHL3WRH445         44.5' HL3 WRH WOMEN                                     41                                                           41

                                                                         370                         8                   1          363 $30,855
   Case 17-14249-BFK                  Doc 14     Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                 Attachment to Schedule B | Part 5:Page
                                                Document                 9 of
                                                                   Question No.38
                                                                                21
                                 North Carolina Storage Inventory | Used Drivers
  Inventory Code                Inventory Description        Availability       Total Shipments       Total Returns       In Stock        Cost
AAD105AR45         Used A Adv 10.5 Men A RH 45'                             4                                                         4
AAD105AR46         Used A Adv 10.5 Men A RH 46'                             5                                                         5
AAD105AR47         Used A Adv 10.5 Men A RH 47'                             1                                                         1
AAD105RR45         Used A Adv 10.5 Men R RH 45'                                                                                       0
AAD105RR46         Used A Adv 10.5 Men R RH 46'                                                                                       0
AAD105RR47         Used A Adv 10.5 Men R RH 47'                                                                                       0
AAD105SR46         Used A Adv 10.5 Men S RH 46'                                                                                       0
AAD105SR45         Used A Adv 10.5 Men S RH 45'                                                                                       0
AAD105SR47         Used A Adv 10.5 Men S RH 47'                                                                                       0
AAD12AR45          Used A Adv 12 Men A RH 45'                                                                                         0
AAD12AR46          Used A Adv 12 Men A RH 46'                               4                                                         4
AAD12AR47          Used A Adv 12 Men A RH 47'                                                                                         0
AAD12RR45          Used A Adv 12 Men R RH 45'                                                                                         0
AAD12RR46          Used A Adv 12 Men R RH 46'                                                                                         0
AAD12RR47          Used A Adv 12 Men R RH 47'                                                                                         0
AAD12SR45          Used A Adv 12 Men S RH 45'                                                                                         0
AAD12SR46          Used A Adv 12 Men S RH 46'                                                                                         0
AAD12SR47          Used A Adv 12 Men S RH 47'                                                                                         0
AADH1AR45          Used A Adv HL1 Men A RH 45'                              1                                                         1
AADH1AR46          Used A Adv HL1 Men A RH 46'                          25                                                           25
AADH1AR47          Used A Adv HL1 Men A RH 47'                              4                                                         4
AADH1RR45          Used A Adv HL1 Men R RH 45'                              3                                                         3
AADH1RR46          Used A Adv HL1 Men R RH 46'                              4                                                         4
AADH3AR45          Used A Adv HL3 Men A RH 45'                              1                                                         1
AADH3AR46          Used A Adv HL3 Men A RH 46'                                                                                        0

    Womens
AAD10WR435         Used A Adv 10.5 Women L RH 435                           2                                                         2
AAD10WR445         Used A Adv 10.5 Women L RH 445                           1                                                         1
AAD12WR435         Used A Adv 12 Women L RH 435                             1                                                         1
AAD12WR445         Used A Adv 12 Women L RH 445                             1                                                         1
AADH1WR435         Used A Adv HL1 Women L RH 435                            2                                                         2
AADH1WR445         Used A Adv HL1 Women L RH 445                            8                                                         8
AADH3WR435         Used A Adv HL3 Women L RH 435                            2                                                         2
AADH3WR445         Used A Adv HL3 Women L RH 445                            4                                                         4

                                                                        73                        0                   0              73    $6,205
   Case 17-14249-BFK          Doc 14    Filed 12/29/17 Entered 12/29/17 12:56:48                 Desc Main
                                       Document     Page 10 of 38
                                                       Attachment to Schedule B | Part 5: Question No. 21
                                                       North Carolina Storage Inventory | Misc. Used Drivers
             In Stock   Unit 24    Sold       Total

10.5 A 45       1                              1
10.5 R 45                 1                    1
10.5 R 46       1         2                    3
10.5 S 45       1                      1       0
10.5 S 46                 2            2       0

12 A 45         3                              3
12 A 46                   2                    2
12 A 47         1                              1
12 L 44.5                 1                    1
12 R 45         1         1                    2
12 R 46         1                      1       0

HL1 A 42        1                              1
HL1 A 43.5      2                              2
HL1 A 45        5                      1       4
HL1 A 45        2                              2
HL1 A 46        1         2                    3
HL1 L 43.5      5                              5
HL1 L 44.5      1         1                    2
HL1 R 45                  2                    2
HL1 R 46        1         1                    2

HL3 A 45        1         1                    2
HL3 L 43.5      1                              1
HL3 L 44.5      4         1                    5
HL3 R 45        1                              1
HL3 R 46                  1                    1


Total                                          47
Cost                                        3,995.00
     Case 17-14249-BFK     Doc 14    Filed 12/29/17 Entered 12/29/17 12:56:48              Desc Main
                                    Document     Page 11 of 38

             In Stock   Sold   Available   Cost     Total   Attachment to Schedule B | Part 5: Question No. 21
US                8                8         5.25        42 North Carolina Storage Inventory | "DW Sports"
XS              114              114         8.25     940.5
XD               24               24         5.25       126

Total Cost                                           1108.5
   Case 17-14249-BFK          Doc 14    Filed 12/29/17 Entered 12/29/17 12:56:48                      Desc Main
                               Attachment to Schedule B Page
                                      Document          | Part 5:12 of 38No. 21
                                                                  Question
                               North Carolina Storage Inventory | "Accessories"
Loose Heads (New) In Stock      Unit 24        Sold     Total in stock Cost/unit         Total Cost

10.5                   25           3           1              27             50.00         1,350.00
12                                  1                           1                              50.00
HL1                    24           4                          28                           1,400.00
Hl3                     2          15                          17                             850.00

Used Heads
10.5                                1                          1                               50.00


Headcovers

Ladies                1 box
Mens                  1 box


Shafts                200      Mostly ladies                                  10.00         2,000.00

Ladies               4 boxes
R                       11                                     11


Golf Balls

US                     64                       12             58                 5.25        304.50
XS                     56                       57             31                 8.25        255.75
XD                     82                      102              0                 5.25           -
XD 2 ball sleeves     120                       30             90                 0.80         72.00
XDS 2 ball sleeves     16                       12              4                 1.10          4.40
XD Dz. No Top          68                       60              8
US/XD combo            21                                      21                 5.25        110.25
XS No Top              36                                      36                 8.25        297.00

Miscellaneous

Hard Drives             4
Monitors                5
Hat Tool               40                       3              37                 7.00        259.00
Sport Tool             40                                      40                 7.00        280.00
Gloves                 30                                      30                 8.00        240.00


Total Cost                                                                                  7,522.90
                       Case 17-14249-BFK          Doc 14       Filed 12/29/17       Entered 12/29/17 12:56:48       Desc Main
                                                            Document
                                          Attachment to Schedule               Page 13
                                                                  B | Part 5: Question No. of
                                                                                          38
                                                                                           21
                                          Inventory Held by Iron Mountain
Stock Number       Description                                   Qty Available        # of Dz   Cost/unit      Total       Ordered   Notes
960014093B         3 Red Balls Tria (case=12)                    38                     456       8.25      $ 3,762.00               XS no top full dozen
96001409XS         1 dz XS (case=20)                             358                   7160       8.25      $ 59,070.00
CUSTOMER RETURNS   Customer Returns (mixed pallet)               2                        0                 $       -
P2SUS2SXD          2 sleeves each of the US and XD (case=20)     16                     320       5.25      $ 1,680.00
P2SUS2SXD-B        2 sleeves each of the US and XD (box=12)      10                      10       5.25      $     52.50
P2SUSXD            US-XD Trial Pack (case=90)                    5                     112.5      5.25      $ 590.63        18-Dec   XD sleeves
P2SUSXD-S          US-XD Trial Pack (Sleeve = 3)                 20                       5       5.25      $     26.25     18-Dec   XD sleeves
PBCXD12DZ          12 dz XD (case=20)                            4                       80       5.25      $ 420.00
PBXS20DZ           20 dz XS (case=20)                            59                    1180       8.25      $ 9,735.00
PLASTICBINS        Plastic Bins (case=3)                         32                       0                 $       -
PLASTICBINS-E      Plastic Bins (each)                           2                        0                 $       -
PSUS3B             3 green ball Trial Sleeve (case=90)           19                    427.5      5.25      $ 2,244.38
PSUS3B-S           3 green ball Trial Sleeve (sleeve=3)          59                    14.75      5.25      $     77.44
XDSEMPTY           XDS empty boxes (case=20)                     7                        0                 $       -
XDSEMPTY-E         XDS empty boxes (each)                        14                       0                 $       -
XS2BALSLV          1 Two ball sleeve XD (case= 120)              14                     280       5.25      $ 1,470.00
XSEMPTY            XS empty boxes ( Case=20 )                    19                       0                 $       -

                                                                                                            $ 79,128.19
                               Case 17-14249-BFK                   Doc 14       Filed 12/29/17 Entered 12/29/17 12:56:48                                   Desc Main
                                                                               Document     Page 14 of 38
                                                            Attachment to Schedule B | Part 5: Question No. 21
                                                            Inventory Held by Whitebox
SKU       Client SKU Product Amazon Price    eBay Price ASIN            Sales Velocity
                                                                                    Qty Requested
                                                                                               Inbound ToProcessing
                                                                                                            Whitebox atReady
                                                                                                                         Whitebox
                                                                                                                             To Ship
                                                                                                                                 In Storage
                                                                                                                                     From Whitebox
                                                                                                                                            atInbound
                                                                                                                                                Whitebox
                                                                                                                                                      ToReserved
                                                                                                                                                         Amazon For
                                                                                                                                                                 In Transfer
                                                                                                                                                                    Stock Total Stock Cost/unit Total Cost
POL-001 POL-001 Polara Golf Master    34.95
                                         Trial Pack34.95
                                                    (12 Balls),
                                                          B01N69L8NX
                                                                 Ultimate Straight, Ultimate0Strait XS, XD, XDS, Pack of 12                                                0
POL-002 POL-002 Polara Golf XD Extra  34.95
                                          Distance 34.95
                                                     Balls,B0074APHK2
                                                            Reduces Hooks And0Slices By Up0 To 50%, Pack of 12                                        0                 106      106        5.25 $556.50
POL-003 POL-003 Polara Golf XS Ultimate
                                      34.95 Straight
                                                   34.95
                                                       3-piece
                                                          B004CMZHFA
                                                                 Balls, Reduces Hooks
                                                                                 0      And Slices
                                                                                             0     By Up To 75%, Pack of 12                           0                 580      580        8.25 $4,785.00
POL-004 POL-004 Polara Golf Ultimate  29.95Straight29.95
                                                    2-piece
                                                          B004CMRPQO
                                                              Balls, Reduces Hooks
                                                                                 0 And Slices0 By Up To 75%, Pack of 12                               0                 330      330        5.25 $1,732.50
POL-005 POL-005 Polara Golf Ultimate  32.95Straight32.95
                                                    & XD B01N0JLSHQ
                                                           Combo Pack, 2 Sleeves 0 Of Each, 0Pack of 12                                               0                    9       9        5.25    $47.25
POL-006 POL-006 Polara Golf XS (Extra 37.95Straight)
                                                   37.95
                                                     & XDSB01N9ADH4A
                                                             (Extra Distance & Spin) Combo0Pack, 2 Sleeves Of Each, Pack of 12                                             0
POL-007 DHL3WRH445   Polara Golf HL3 Advantage
                                       299       Driver,
                                                     299 B00FCCOC7I
                                                           Women's RH 44.5" 0                0                                                                             0
POL-008 DHL3RMRH46   Polara Golf HL3 Advantage
                                       299       Driver,
                                                     299 B00FCCOCJ6
                                                           Men's RH 46"          0           0                                                                             0
POL-009 DHL3AMRH46   Polara Golf HL3 Advantage
                                       299       Driver,
                                                     299 B00FCCO6VA
                                                           Men's RH Senior Flex046"          0                                                        0                    1       1          85    $85.00
POL-010 DHL1WRH445   Polara Golf HL1 Advantage
                                       299       Driver,
                                                     299 B00FCCOCWI
                                                           Women's RH 44.5" 0                0                                                                             0
POL-011 DHL1RMRH46   Polara Golf HL1 Advantage
                                       299       Driver,
                                                     299 B01N9ADKES
                                                           Men's RH 46"          0           0                                                                             0
POL-012 DHL1AMRH46   Polara Golf HL1 Advantage
                                       299       Driver,
                                                     299 B00FCCOCOQ
                                                           Men's RH Senior Flex046"          0                                                                             0
POL-013 D12WRH445    Polara Golf 12 Degree
                                       299 Advantage 299 Driver,
                                                          B00FCCOJTO
                                                                  Women's RH 44.5"
                                                                                 0           0                                                                             0
POL-014 D12RMRH46    Polara Golf 12 Degree
                                       299 Advantage 299 Driver,
                                                          B01NBCKOMW
                                                                  Men's RH 46"               0                                                                             0
POL-015 D12AMRH46    Polara Golf 12 Degree
                                       299 Advantage 299 Driver,
                                                          B01MQOTYQK
                                                                  Men's RH Senior Flex 46" 0                                                                               0
POL-016 D12SMRH46Polara Golf 12 Degree 299 Advantage 299 Driver,
                                                          B01MTTCQ5C
                                                                  Men's RH Stiff 0Flex 46" 0                                                                               0
POL-017 D105WRH445   Polara Golf 10.5 Degree
                                       299 Advantage 299 B01NBC8JOY
                                                            Driver, Women's RH044.5"         0                                                        0                    1       1          85    $85.00
POL-018 D105RMRH46   Polara Golf 10.5 Degree
                                       299 Advantage 299 B01MTTCQ13
                                                            Driver, Men's RH 46"             0                                                                             0
POL-019 D105AMRH46   Polara Golf 10.5 Degree
                                       299 Advantage 299 B01MXR0I4K
                                                            Driver, Men's RH Senior
                                                                                 0 Flex 46"0                                                          0                    1       1          85    $85.00
POL-020 D105SMRH46   Polara Golf 10.5 Degree
                                       299 Advantage 299 B01MRQ6OVC
                                                            Driver, Men's RH Stiff
                                                                                 0 Flex 46" 0                                                                              0
POL-007A POL-007A Polara Golf HL3 Advantage
                                       299       Driver
                                                     299                         0           0                                                                             0
POL-010A POL-010A Polara Golf HL1 Advantage
                                       299       Driver
                                                     299                         0           0                                                                             0
GO-XGJC-YJKC
          GO-XGJC-YJKC
                     Polara Golf 12 Degree
                                       299 Advantage 299 Driver                  0           0                                                                             0
DH-Q0GF-B6Q0
          DH-Q0GF-B6Q0
                     Polara Golf 10.5 Degree
                                       299 Advantage 299 Driver                  0           0                                                                             0
POL-021 XDS2BALX3Polara Golf XDS Extra19.99Distance19.99
                                                      & Spin 3-Piece Golf Balls (6 Balls) 0                                                                                0
POL-022 XDS2BALX6Polara Golf XDS Extra39.99Distance39.99
                                                      & Spin
                                                          B0074ASVVO
                                                               3-Piece Golf Balls (12 Balls) 0                                                                             0
POL-023C POL-023C Polara Golf XDS Extra
                                      39.99Distance39.99
                                                      & Spin 3-Piece Golf Balls,0CASE OF 1 0CARTON (240 balls)                                                             0
                                                                                                                                                                                                 $7,376.25
  Case 17-14249-BFK        Doc 14   Filed 12/29/17 Entered 12/29/17 12:56:48       Desc Main
                                 Document        Page 15 of 38
                         Attachment to Schedule B | Part 5: Question No. 60
                                 Patents and Patent Applications
           Patents                                   Patent Applications
  (Non-Conforming Golf Balls)                    (Non-Conforming Golf Balls)
Patent No.    Description               Patent No.     Description
9,211,442     Anti-slice golf ball
              construction               20140349782 Low lift golf ball
                                                     Kit for a driver and golf ball that
8,795,103     Low lift golf ball         20130090189 provides optimum performance
8,708,840     Low lift golf ball         20120238378 Anti-Slice Golf Ball Construction
8,708,839     Low lift golf ball         20120108362 Nonconforming Anti-Slice Ball
8,657,706     Low lift golf ball         20110294605 Nonconforming Anti-Slice Ball
8,622,852     Low lift golf ball         20110294604 Nonconforming Anti-Slice Ball
8,602,916     Low lift golf ball         20110294603 Nonconforming Anti-Slice Ball
8,579,730     Low lift golf ball         20110294602 Nonconforming Anti-Slice Ball
8,574,098     Low lift golf ball         20110294601 Nonconforming Anti-Slice Ball
8,550,938     Low lift golf ball         20110293765 Nonconforming Anti-Slice Ball
8,550,937     Low lift golf ball         20110269578 Nonconforming Anti-Slice Ball
8,512,167     Low lift golf ball         20110269577 Nonconforming Anti-Slice Ball
8,491,420     Low lift golf ball         20110269576 Nonconforming Anti-Slice Ball
8,491,419     Low lift golf ball         20110269575 Nonconforming Anti-Slice Ball
8,475,299     Low lift golf ball         20110268833 Nonconforming Anti-Slice Ball
8,454,456     Low lift golf ball
8,388,468     Low lift golf ball
8,388,467     Low lift golf ball
8,382,613     Low lift golf ball
8,371,961     Low lift golf ball
8,366,569     Low lift golf ball
8,323,124     Low lift golf ball
8,267,810     Low lift golf ball
8,262,513     Low lift golf ball
8,251,840     Low lift golf ball
8,246,490     Low lift golf ball
8,226,502     Low lift golf ball
8,202,179     Low lift golf ball
8,202,178     Low lift golf ball
8,197,361     Low lift golf ball
8,192,307     Low lift golf ball
8,192,306     Low lift golf ball
8,038,548     Low lift golf ball
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                Desc Main
                                                                     Document     Page 16 of 38
 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)             17-14249
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Dr. Rocky Lee                                  Describe debtor's property that is subject to a lien                     $7,500.00                Unknown
       Creditor's Name                                Polara Golf Ball Inventory - 2000 dozen
       26A Luna Gardens,                              US Patent 8038548 and 9211442
       Rockwell Ctr
       Makati, Metro Manila
       1229 Philippines
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Foremost Golf
 2.2                                                                                                                           $2,500.00                Unknown
       Manufacturing                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Polara Golf Ball Inventory - 2000 dozen
       2Fl, No. 16, Lane 35, Ji-Hu                    US Patent 8038548 and 9211442
       Rd
       Taipei 11492
       Taiwan, R.O.C.
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                              Desc Main
                                                                     Document     Page 17 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if know)     17-14249
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $10,000.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 18 of 38
 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)           17-14249
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,000.00
           Action Media Inc                                                     Contingent
           4665 Red Deer Trail                                                  Unliquidated
           Broomfield, CO 80020                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $528.00
           AFCO Insurance Premium Finance                                       Contingent
           5600 N. River Road Ste 400                                           Unliquidated
           Des Plaines, IL 60018-5187                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,269.00
           Antonelli, Terry, Stout                                              Contingent
           1300 North Seventeenth Street                                        Unliquidated
           Suite 1800                                                           Disputed
           Arlington, VA 22209
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $18,279.66
           Bellatrix PC                                                         Contingent
           5405 Morehouse Dr., Suite 110                                        Unliquidated
           San Diego, CA 92121
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                         47850                                            Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 19 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Bruce Pettibone Consulting                                            Contingent
          2633 Ocean St #2                                                      Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,700.00
          Commonwealth of Virginia                                              Contingent
          State Corp Comm                                                       Unliquidated
          PO Box 7607                                                           Disputed
          Merrifield, VA 22116-7607
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,282,348.97
          David Felker                                                          Contingent
          20844 Wild Willow Hollow                                              Unliquidated
          Escondido, CA 92029                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          deBary Partners                                                       Contingent
          1012 Brentwood Lane                                                   Unliquidated
          Brentwood, TN 37027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $419.25
          DW Sports Group                                                       Contingent
          310 South Nina Drive, Ste 1                                           Unliquidated
          Mesa, AZ 85210                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $529.55
          Executive Financial Enterprise                                        Contingent
          1626 N Wilcox AVE, Box 680                                            Unliquidated
          Los Angeles, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,000,000.00
          Foremost Golf Manufacturing                                           Contingent
          No. 5 Kegong 8th Rd                                                   Unliquidated
          Touliu City, Yunlin County 640                                        Disputed
          Taiwan (R.O.C)
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 20 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Franchise Tax Board                                                   Contingent
          PO Box 942857                                                         Unliquidated
          Sacramento, CA 94257-0531                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $597.00
          Golf Talk Radio                                                       Contingent
          900 Salida Del Sol Drive                                              Unliquidated
          Paso Robles, CA 93446                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,027.28
          Golfer's First Technologies                                           Contingent
          3444 Silverlake Ct.                                                   Unliquidated
          Jamestown, NC 27282                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,785.20
          Hammacher Schlemmer INC                                               Contingent
          9307 N Milwaukee Ave                                                  Unliquidated
          Saint Charles, IL 60174                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,031.78
          Hye Precision Products                                                Contingent
          745 Carroll Street                                                    Unliquidated
          Perry, GA 31069                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,329.00
          IP Data                                                               Contingent
          704 W Park Ave Suite C                                                Unliquidated
          Edgewater, FL 32132-1409                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,208.34
          Just Add Technology Solutions                                         Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 21 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $455.75
          Liberty Mutual Insurance                                              Contingent
          P. O. Box 85834                                                       Unliquidated
          San Diego, CA 92186-5834                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Life After 50                                                         Contingent
          50 S. De Lacey Ave. Suite 200                                         Unliquidated
          Pasadena, CA 91105-3806                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Madavor Media LLC                                                     Contingent
          25 Braintree Hill Office Park                                         Unliquidated
          Suite 404                                                             Disputed
          Braintree, MA 02184
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,762.77
          McCarthy, Burgess, Wolff                                              Contingent
          26000 Cannon Road                                                     Unliquidated
          Bedford, OH 44146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $665.02
          Minuteman Press of Carlsbad                                           Contingent
          6353 El Camino Real #H                                                Unliquidated
          Carlsbad, CA 92009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,345.00
          Miranda & Associates                                                  Contingent
          1595 South Mission Road                                               Unliquidated
          Fallbrook, CA 92028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,162.50
          Miranda CFO Services, Inc.                                            Contingent
          1595 South Mission Rd                                                 Unliquidated
          Fallbrook, CA 92028
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 22 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,061.62
          MLG Automotive Law                                                    Contingent
          2801 W. Coast Hiighway                                                Unliquidated
          Suite 370
                                                                                Disputed
          Newport Beach, CA 92663
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $822.95
          Montana Department of Revenue                                         Contingent
          PO Box 6309                                                           Unliquidated
          Helena, MT 59604-6309
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Mr. Cole Burr                                                         Contingent
          Burrtec                                                               Unliquidated
          9820 Cherry Avenue                                                    Disputed
          Fontana, CA 92335
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $528.00
          New Jersey Commercial                                                 Contingent
          Collection (AFCO)                                                     Unliquidated
          PO Box 2212                                                           Disputed
          Cherry Hill, NJ 08034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $96,043.52
          Novus Media Inc.                                                      Contingent
          PO Box 86                                                             Unliquidated
          Minneapolis, MN 55486-0664                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,173.75
          Pijush Dewanjee                                                       Contingent
          3746 Saddle Dr.                                                       Unliquidated
          Carlsbad, CA 92010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,179.36
          POP TV LLC                                                            Contingent
          5069 Maureen Lane, Unit A                                             Unliquidated
          Moorpark, CA 93021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 23 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Procopio, Cory, Hargreaves                                            Contingent
          & Savitch LLP                                                         Unliquidated
          12544 High Bluff Drive, #300                                          Disputed
          San Diego, CA 92130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,000.00
          QSControl Corp                                                        Contingent
          No.39, Jing 3 Rd, C.E.P.Z                                             Unliquidated
          Wuchi, 04                                                             Disputed
          Taichung City, Taiwan 435
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $758.33
          RBC Capital Markets                                                   Contingent
          FBO David Felker                                                      Unliquidated
          500 La Terraza Blvd, #102                                             Disputed
          Escondido, CA 92025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          State of California                                                   Contingent
          Franschise Tax Board                                                  Unliquidated
          PO Box 942857
                                                                                Disputed
          Sacramento, CA 94257-0511
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,519.11
          Steven Lebischak                                                      Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,083.35
          The Golf Shop - James Love                                            Contingent
          2768 Loker Avenue                                                     Unliquidated
          Suite 100                                                             Disputed
          Carlsbad, CA 92010
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,625.00
          The McLean Group                                                      Contingent
          7918 Jones Branch Dr #750                                             Unliquidated
          Mc Lean, VA 22102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                     Desc Main
                                                                     Document     Page 24 of 38
 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $7,500.00
           The Media Group                                                      Contingent
           848 West Bartlett Road, #10E                                         Unliquidated
           Bartlett, IL 60103                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,624.73
           Travelers Insurance                                                  Contingent
           PO Box 660317                                                        Unliquidated
           Dallas, TX 75266-0317                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $425.00
           Turnstile Media Group                                                Contingent
           PO Box 951276                                                        Unliquidated
           Dallas, TX 75395-1323                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $766.95
           Word's Court Reporting Service                                       Contingent
           Gidgette Nieves, CSR, Principa                                       Unliquidated
           1265 Carlsbad Village Dr. #210                                       Disputed
           Carlsbad, CA 92008
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.44      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $396.00
           Yellow Pages United                                                  Contingent
           PO Box 50038                                                         Unliquidated
           Jacksonville Beach, FL 32240-0038
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       James P. Koch, Esq.
           Law Offices of James P. Koch                                                               Line     3.7
           1101 St. Paul Street
                                                                                                             Not listed. Explain
           Baltimore, MD 21202


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   3,024,301.74


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                        Desc Main
                                                                     Document     Page 25 of 38
 Debtor       Aero-X Golf, Inc.                                                                   Case number (if known)   17-14249
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $                3,024,301.74




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 8 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                      Desc Main
                                                                     Document     Page 26 of 38
 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Storage Unit
             lease is for and the nature of               $220/month
             the debtor's interest                        Storage of drivers and
                                                          some golf balls
                  State the term remaining                Monthly
                                                                                       AAA Self Storage
             List the contract number of any                                           2553 Willard Dairy Rd
                   government contract                                                 High Point, NC 27265


 2.2.        State what the contract or                   Storage Unit in Falls
             lease is for and the nature of               Church, VA
             the debtor's interest                        $150/month
                                                          Storage of Company
                                                          files and documents
                  State the term remaining                                             Extra Space Storage
                                                                                       2795 East Cottonwood Pkwy
             List the contract number of any                                           Suite 400
                   government contract                                                 Salt Lake City, UT 84121


 2.3.        State what the contract or                   License Agreement
             lease is for and the nature of               dated 8/12/10 for use of
             the debtor's interest                        trademarks, service
                                                          marks and trade names
                                                          POLARA, POLARA
                                                          GOLF, and similar
                                                          names.
                  State the term remaining                Effective until licensee
                                                          decides to terminate         Golfer First Technologies LLC
             List the contract number of any                                           3444 Silverlake Ct.
                   government contract                                                 Jamestown, NC 27282


 2.4.        State what the contract or                   Fulfillment
             lease is for and the nature of               Storage of inventory for
             the debtor's interest                        shipping to retailers

                  State the term remaining                Monthly
                                                                                       Iron Mountain
             List the contract number of any                                           1 Federal Street
                   government contract                                                 Boston, MA 02110

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                   Desc Main
                                                                     Document     Page 27 of 38
 Debtor 1 Aero-X Golf, Inc.                                                                  Case number (if known)   17-14249
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.5.        State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                December 2018
                                                                                     Piedmont Triad Insurance
             List the contract number of any                                         7 Battleground Court
                   government contract                                               Greensboro, NC 27408


 2.6.        State what the contract or                   Fulfillment of online
             lease is for and the nature of               orders on Amazon.com
             the debtor's interest

                  State the term remaining
                                                                                     Whitebox
             List the contract number of any                                         702 S Port St
                   government contract                                               Baltimore, MD 21224




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                  Desc Main
                                                                     Document     Page 28 of 38
 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Chris Holiday                     12624 Carmel Country Road, #82                     Foremost Golf                     D
                                               San Diego, CA 92130                                Manufacturing                     E/F       3.11
                                               Guarantor
                                                                                                                                    G




    2.2      David Felker                      20844 Wild Willow Hollow                           Foremost Golf                     D
                                               Escondido, CA 92029                                Manufacturing                     E/F       3.11
                                               Guarantor
                                                                                                                                    G




    2.3      Doug Winfield                     1 Carriage Hill                                    Foremost Golf                     D
                                               Madison, AL 35758                                  Manufacturing                     E/F       3.11
                                               Guarantor
                                                                                                                                    G




    2.4      John Chu                          3444 Silverlake Ct.                                Foremost Golf                     D
                                               Jamestown, NC 27282                                Manufacturing                     E/F       3.11
                                               Guarantor
                                                                                                                                    G




    2.5      John McGinnis                     4333 E. Hashknife Rd.                              Foremost Golf                     D
                                               Phoenix, AZ 85050                                  Manufacturing                     E/F       3.11
                                               Guarantor
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                   Desc Main
                                                                     Document     Page 29 of 38
 Debtor       Aero-X Golf, Inc.                                                              Case number (if known)   17-14249


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Karen Weseloh                     6250 Mimulus                                       Foremost Golf                    D
                                               Rancho Santa Fe, CA 92067                          Manufacturing                    E/F       3.11
                                               Guarantor
                                                                                                                                   G




    2.7      Steven                            PO Box 2092                                        Foremost Golf                    D
             Lebischak                         Merrifield, VA 22116                               Manufacturing                    E/F       3.11
                                               Guarantor
                                                                                                                                   G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                              Desc Main
                                                                     Document     Page 30 of 38



 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $219,835.12
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $272,006.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,188,436.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                   Desc Main
                                                                     Document     Page 31 of 38
 Debtor       Aero-X Golf, Inc.                                                                         Case number (if known) 17-14249



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       See SOFA No. 13                                                                                                                                            $0.00



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    David Felker v. Aero-X Golf,                      Foreign Judgment           Circuit Court for Baltimore                  Pending
               Inc.                                                                         City                                         On appeal
               24C17004566                                                                  100 N Calvert St                             Concluded
                                                                                            Baltimore, MD 21202

       7.2.    David Felker v. Aero-X Golf,                      Judgment                   Superior Court of the State                  Pending
               Inc.                                              (Confirming                of                                           On appeal
               37-2015-00043016-CU-PT-CTL                        Arbitration Award)         California, County of San
                                                                                                                                         Concluded
                                                                                            Diego
                                                                                            Central Division

       7.3.    David Felker v. Aero-X Golf,                      Arbitration                American Arbitration                         Pending
               Inc.                                                                         Association                                  On appeal
               01-16-0000-9155                                                              Employment Arbitration
                                                                                                                                         Concluded
                                                                                            Tribunal

       7.4.    David Felker v. Aero-X Golf,                      Foreign Judgment           Circuit Court for Fairfax                    Pending
               Inc.                                                                         County, VA                                   On appeal
               CL-2017-16974                                                                4110 Chain Bridge Rd                         Concluded
                                                                                            Fairfax, VA 22030




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                 Desc Main
                                                                     Document     Page 32 of 38
 Debtor       Aero-X Golf, Inc.                                                                             Case number (if known) 17-14249



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.5.    David Felker v. Aero-X Golf,                      Foreign Judgment             Supreme Court of New York                   Pending
               Inc.                                                                           360 Adams St #4                             On appeal
               516077/2017                                                                    Brooklyn, NY 11201                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                Desc Main
                                                                     Document     Page 33 of 38
 Debtor        Aero-X Golf, Inc.                                                                         Case number (if known) 17-14249



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.                                                                                                                   $25,000
                                                                                                                               Retainer
                                                                                                                               Paid 10/9/17
                                                                                                                               From
                                                                                                                               Retainer,
                                                                                                                               the
                                                                                                                               following
                                                                                                                               Invoices
                                                                                                                               were paid:
                                                                                                                               $7,920 on
                                                                                                                               11/8/17
                                                                                                                               $1,848 on
                                                                                                                               12/6/17
                                                                                                                               $4,357 on
                 Offit Kurman, P.A.                                                                                            12/14/17
                 8171 Maple Lawn Blvd. #200                                                                                    (includes
                 Fulton, MD 20759                                    Attorney Fees                                             filing fee)            $12,408.00

                 Email or website address
                 smetz@offitkurman.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1                                                      $6,289 (Garnished funds in Debtor's
       .                                                         Account Prior to 90 days before Petition
                                                                 Date)
                                                                 $60,000 (Obtained Possession of
                David Felker                                     Inventory Valued at Approximately
                20844 Wild Willow Hollow                         $60,000 Prior to 90 days before Petition
                Escondido, CA 92029                              Date)                                                                                $66,289.00

                Relationship to debtor
                Former insider


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                            Desc Main
                                                                     Document     Page 34 of 38
 Debtor        Aero-X Golf, Inc.                                                                        Case number (if known) 17-14249




           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     C/O Robert Miranda                                                                                        Approx. June 2013-December 2015
                 Miranda & Associates
                 1595 South Mission Road
                 Fallbrook, CA 92028

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Wells Fargo Bank                                XXXX-9058                   Checking                 8/21/17                              $50.25
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                            Desc Main
                                                                     Document     Page 35 of 38
 Debtor        Aero-X Golf, Inc.                                                                        Case number (if known) 17-14249



                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.2.     First Bank                                      XXXX-1796                   Checking                 12/19/2017                     $5,127.01
                 PO Box 925                                                                  Savings
                 Troy, NC 27371
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       AAA Self Storage                                               John Chu                            Drivers and parts for drivers           No
       2553 Willard Dairy Rd                                          3444 Silverlake Ct.                 Some golf balls                         Yes
       High Point, NC 27265                                           Jamestown, NC 27782

       Extra Space Storage                                            Steven Lebischak                    Company files and                       No
       2795 East Cottonwood Pkwy                                                                          documents                               Yes
       Suite 400                                                                                          Storage Unit is in Falls
       Salt Lake City, UT 84121                                                                           Church, VA

       Motivational Fulfillment                                                                           Golf balls, Golf clubs and              No
       15820 Euclid Avenue                                                                                accessories                             Yes
       Chino, CA 91708

       The Belt's Corporation-BBC                                                                         Golf balls, Golf clubs and              No
       608 Folcroft Street                                                                                accessories                             Yes
       Baltimore, MD 21224

       Iron Mountain Fulfillment Services                             Iron Mountain employees             Golf balls, Golf clubs and              No
       1242 S. River Road                                                                                 accessories                             Yes
       Cranbury, NJ 08512



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                                  Desc Main
                                                                     Document     Page 36 of 38
 Debtor      Aero-X Golf, Inc.                                                                          Case number (if known) 17-14249




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jain & Associates                                                                                                          March 2016 -
                    43448 Katling Sq.                                                                                                          Present
                    Chantilly, VA 20152

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 17-14249-BFK                         Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                            Desc Main
                                                                     Document     Page 37 of 38
 Debtor      Aero-X Golf, Inc.                                                                          Case number (if known) 17-14249



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Jain & Associates                                                                                                     March 2016 -
                    43448 Katling Sq.                                                                                                     Present
                    Chantilly, VA 20152

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Steve Lebischak
                    Aero-X Golf
                    Unit A220
                    2820 Hollywood Road
                    Falls Church, VA 22043

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Steven Lebischak                               PO Box 2092                                         Chief Executive                        29,178
                                                      Merrifield, VA 22116                                Director                               Common A
                                                                                                                                                 2,487
                                                                                                                                                 Common B
       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Louis M. Green                                 77 Downey St                                        Chairman of Board                      170,702
                                                      San Francisco, CA 94117                             Director                               Common A



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dr. Rocky Lee                                  26A Luna Gardens, Rockwell Ctr                      Chairman of Board                 November 2015 -
                                                      Makati, Metro Manila                                Director                          November 2017
                                                      1229 Philippines

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 17-14249-BFK                        Doc 14           Filed 12/29/17 Entered 12/29/17 12:56:48                            Desc Main
                                                                     Document     Page 38 of 38
 Debtor      Aero-X Golf, Inc.                                                                          Case number (if known) 17-14249



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 29, 2017

 /s/ Steven Lebischak                                                   Steven Lebischak
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
